         Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 1 of 6 PageID 213
A 0 245B (Rev 06105) Sheet I -Judgment in a Criminal Case


                                UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DIVISION



UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE

                                                                   CASE NUMBER: 8:06-cr40-T-30TGW
                                                                   USM NUMBER: 48481418
VS.



NIKlSHA LOFTON
                                                                   Defendant's Attorney: Frank Zarernba, pda.

THE DEFENDANT:

-
X pleaded guilty rn count(s) FOUR of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                          NATURE OF OFFENSE                                   OFFENSE ENDED              COUNT

21 U.S.C. @846 and 841(a)(l),            Conspiracy to Possess with Intent to Distribute     July 1, 2005               Four
(h)(l)(A)(iu), and (b)(l)(B)(ii)         50 Grams or More of Cocaine Base and
                                         500 Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count($
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall not@ the court and United States Attorney of any material change in economic
circumstances.


                                                                                    Date of Imposition of Sentence: February 21,2007




                                                                                    DATE: February 2 , 2 0 0 7
         Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 2 of 6 PageID 214
A 0 245B (Rev 06/05) Sheet 2 - I~nprisonment
Defendant:          NIKISHA LOFTON                                                                Judgment - Page 2 of 6
Case No. :          8:06cr40-T-30TG W




       After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$6 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of TWENTY-ONE (21) MONTHS as to Count Four of the Indictment.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL), if possible.


-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States hlarshal for this district.
          - at -a.m./p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          -as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oftice.



                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to                                      at

                                                                        , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:

                                                                        Deputy Marshal
          Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 3 of 6 PageID 215
A 0 2458 (Rev. 06/05) Sheet 3 - Supervised Release

Defendant:           NIKISHPr LOFTON                                                                               Judgment - Page 3of 6
Case No. :           8 :06cr-40-T-30TGW
                                                           SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3)
YEARS as to Count Four of the Indictment.
        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime. The defendant shall not illegally possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.


           The defendant shall cooperate in the collection of DNA as directed by the probation officer.


            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the pcrtnission of the court or probation officer;

            the defendant shall report to the probation ofticer and shall subniit a truthful and coniplcte written report within the first five days of each
            month;

            the defcndant shall answer truthfully all inquiries by the probation ofticer and follow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employmcnt;

            the defendant shall refrain tiom excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted pernlission to do so by the probation officer;

            the defendant shall permit a probation ofticer to visit him or her at any time at home or elsewhere and shall permit contiscation of any
            contraband obscnicd in plain view of the probation oftjcer;

            the defendant shall notify the probation ofticer within seventy-two hours of being arrested or questioned by a law enforcement otlicer;

            the defendant shall not enter into any agreement to act as an infoner or a special agent of a law enforcement agency without the
            permission of' the court;

            as directed by the probation oftker, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall permit the probation officer to make such notitications and to continn the defendant's
            con~pliancewith such noti tication requirement.
         Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 4 of 6 PageID 216
A 0 245B (Rev. U6105j Sheet 3C - Supervised Release
                                ---         -



Defendant:           NIKISHA LOFTON                                                                     Judgment - Page 4 of 6
Case No.:            8:06-cr-40-T-30TGW
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X          The mandatory drug tcsting provisions shall apply pursuant to the Violent Crime ControI Act. Based on the probation officer's
           determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
           per year.
        Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 5 of 6 PageID 217
                    Sheet 5 - Criminal hlunrtary Penalties
A 0 245B (Rev 06/05:1

Defendant:           NIKISHA LOFTON                                                                      Judgment - Page 5 of 6
Case No. :           8:06-cr-40-T-30TGW

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            Fine                       Total Restitution

           Totals:              $100.00                               Waived                     N/A


-          The determination of restitution is deferred until           .       An Amended Judgment if1 a Crilziiilal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
           specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U .S.C. 5
           3664(i). all nonfederal victims must be paiabefore the United States.
                                                                                                                 Priority Order o r
                                                       Total                       Amount of                     Percentage of
 Name of Payee                                       Amount of Loss             Restitution Ordered              Payment




                                Totals:              L                          L
           Restitution amount ordered pursuant to plea agreement            $

           The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. # 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U .S.C. 5 36 12(g).
           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -           the interest requirement is waived for the - fine          - restitution.
         -           the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A. and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
        Case 8:06-cr-00040-JSM-TGW Document 84 Filed 02/22/07 Page 6 of 6 PageID 218
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments
Defendant:        NIKISHA LOFTON                                                                     Judgment - Page 6of 6
Case No. :        8:06-cr-40-T-30TGW



                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   ,   or
                            -in accordance - C, - D. - E or - F below; or
                  Payment to begin immediately (may be combined with -C. -D. or -F below): or
                  Payment in equal                  (e .g ., weekly, monthly, quarterly) installments of $            over a
                  period of          (e.g ., months or years), to commence               days (e.g.. 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                over a
                  period of
                               , (e.g.. months or years) to commence                     (e.g . 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
                  Special instructions regarding the payment of crirninal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes a period of in1                         payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties. except                                made through the
         5                              t
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the dekndant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                    i2
or portions thereof, subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
